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                           UNITED STATES DISTRICT COURT
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                          CENTRAL DISTRICT OF CALIFORNIA
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 10    MARCO ANTHONY DE LA CRUZ,                  Case No. 2:21-cv-1977-JGB (MAR)
 11                             Petitioner,
 12                       v.                      ORDER ACCEPTING FINDINGS
                                                  AND RECOMMENDATION OF
 13    MARCUS PALLARD,                            UNITED STATES MAGISTRATE
                                                  JUDGE
 14                             Respondent.
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 17         Pursuant to 28 U.S.C. § 636, the Court has reviewed the Motion to Dismiss,
 18   the records on file, and the Final Report and Recommendation of the United States
 19   Magistrate Judge. No objections have been filed. The Court accepts the findings and
 20   recommendation of the Magistrate Judge.
 21         IT IS THEREFORE ORDERED that: (1) the Motion to Dismiss is
 22   GRANTED; (2) the Petition is DISMISSED without prejudice; and (3) a Certificate
 23   of Appealability is DENIED.
 24   Dated: November 29, 2021
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 26                                 HONORABLE JESUS G. BERNAL
                                    United States District Judge
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